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EXHIBIT 2
Case 2:12-md-02323-AB Document 7313-3 Filed 03/21/17 Page 2 of 7

October 7, 2015
Via E-mail and Certified Letter

Brian Gudmundson

Brian.Gudmundson@zimmreed.com

RE: Termination of representation in the Retired NFL Players Publicity Rights Litigation

Dear Brian,

Lorraine and |. would like to thank you for your assistance for all your efforts in the above referenced
matter. However, effective 10/7/2015, we will no longer need representation from the Zimmerman —
Reed Law firm. Please forward all outstanding advances and documentation to support those expenses
to our home address at 908 Country Creek Lane, Red Oak, TX 75154, so that we may make
arrangements to pay them. Additionally, please forward all of Rickey’s records to our home address.

We will contact the financial company directly that advanced monies to Rickey to ensure. payment is
made to them. .

Again we appreciate your time and services.

Best Regards,

Rickey and Lorraine Dixon
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Tina Olson

From: Lorraine <dixonldixon4@aol.com>
Sent: Monday, October 12, 2015 10:54 AM
To: Brian Gudmundson

Subject: Re: NFL Concussion Case

Brian you are correct as of October 7th Zimmerman Reed was terminated from representing Rickey.

As far as costs that was incurred by Rickey
and I, | had to take off of work to have forms released, copied and mailed to the firm at your request. There were also
charges incurred in having the records copied.

In the contract it states that upon termination
Rickey and | are responsible for costs advanced
by the firm. Please submit all advance costs
incurred by the firm on Rickey's behalf.

Sent from my iPhone

On Oct 12, 2015, at 9:55 AM, Brian Gudmundson <Brian.Gudmundson@zimmreed.com> wrote:

Lorraine,

Regarding reimbursement of case expenses, you mentioned on our call that you incurred some FedEx
and postage costs in sending medical records to us. As | explained, that is the type of cost that is
reimbursable to you as an advanced cost by our firm in representing you and Rickey. | was previously
unaware of those. My understanding is that you would not like Zimmerman Reed to represent you any
further, so |am uncertain how to advance those costs at this point. Perhaps we could discuss this
week? | am traveling today and tomorrow but could talk on Wednesday.

Brian

From: Lorraine [mailto:dixonldixon4@aol.com]
Sent: Friday, October 09, 2015 12:25 PM

To: Brian Gudmundson

Subject: Re: NFL Concussion Case

Thanks Brian,

| also appreciate the opportunity in speaking

with you. As explained, the October 7, 2015, termination is not personal we simply must
do what is best for our family given the grave

diagnosis given to my husband and the financial impact it has taken on our family.

| was also pleasantly surprised to hear that the firm intends to reimburse me for my out of pocket costs
associated with my legal expertise in gathering information that would normally be incurred by the firm
that represents the client. | will begin to itemized those costs to submit to you.
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We look forward to receiving Rickey's files
and an itemized list on the costs that Zimmerman
Reed believes that we owe pursuant to the terms of the contract.

Best Regards,

Rickey and Lorraine Dixon

Sent from my iPhone

On Oct 9, 2015, at 10:50 AM, Brian Gudmundson <Brian.Gudmundson@zimmreed.com> wrote:
Lorraine,
| wanted to thank you again for taking the time to talk this morning. | appreciate the
opportunity to explain our position, and also to hear from you about your position. As
you have directed, we will cease work on your file and will send you the file. You
explained that you intend to represent yourself going forward.
As we discussed, while we may not see completely eye to eye on matters at the
moment, that doesn’t mean we can’t find a solution. Let’s keep the lines of
communication open. | am going to discuss this matter further with our team here and
see if we can come up with some ideas that may be mutually agreeable.

As always, please do not hesitate to contact me anytime at 800.755.0098.

Brian

BRIAN C. GUDMUNDSON | PARTNER

ZIMMERMAN REED, LLP
1100 IDS Center, 80 South 8th Street
Minneapolis, MN 55402 T 612.341.0400

bio website map <image001.gif>

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Case 2:12-md-02323-AB Document 7313-3 Filed 03/21/17 Page 5 of 7

Tina Olson aS

From: Brian Gudmundson

Sent: Friday, October 09, 2015 10:50 AM
To: dixonidixon4@aol.com

Subject: NFL Concussion Case

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As we discussed, while we may not see completely eye to eye on matters at the moment, that doesn’t mean we can’t
find a solution. Let’s keep the lines of communication open. | am going to discuss this matter further with our team
here and see if we can come up with some ideas that may be mutually agreeable.

As always, please do not hesitate to contact me anytime at 800.755.0098.
Brian
BRIAN C. GUDMUNDSON | PARTNER

ZIMMERMAN REED, LLP
1100 IDS Center, 80 Sauth 8th Street
Minneapolis, MN 55402 7 612.341.0400

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Tina Olson

ym NE a me a ES
From: Lorraine <dixonidixon4 @aol.com>

Sent: Thursday, October 08, 2015 1:06 PM

To: Brian Gudmundson

Subject: Re: NFL Concusion representation

Hello Brian I just left a message, sorry I missed you. I am happy to speak with you but we discussed this in
detail and made the best decision for our family so as stated in our email of 10/7/2015 please consider that as
the effective date of termination and forward all records and costs to us at our home address. _

Best Regards.

Rickey and Lorraine Dixon

Sent from my iPhone

On Oct 8, 2015, at 9:30 AM, Brian Gudmundson <Brian,Gudmundson@zimmreed.com> wrote:
Rickey and Lorraine,

| tried to call you at home but could not reach you. Will you please call me as soon as possible to discuss
this at 1.800.755.0098?

Brian

From: dixonidixon4@aol.com [mailto:dixonidixon4@aol.com])
Sent: Wednesday, October 07, 2015 2:08 PM

To: Brian Gudmundson

Subject: NFL Concusion representation

This oma may contain information that is prvileged, confidential oc ofmermise protected fram dxciosure under applicatic tave and is

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Case 2:12-md-02323-AB Document 7313-3 Filed 03/21/17 Page 7 of 7

Tina Olson

ET a ee ee ee a eS ES ee ee
From: Lorraine <dixonidixon4@aol.com>

Sent: Thursday, October 08, 2015 12:49 PM

To: Brian Gudmundson

Subject: Re: NFL Concusion representation

Will do.

Sent from my iPhone

On Oct 8, 2015, at 9:30 AM, Brian Gudmundson <Brian.Gudmundson@zimmreed.com> wrote:

Rickey and Lorraine,

| tried to call you at home but could not reach you, Will you please call me as soon as possible to discuss
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Brian

From: dixonidixon4@aol.com [mailto:dixonidixon4@aol.com)
Sent: Wednesday, October 07, 2015 2:08 PM

To: Brian Guémundson

Subject: NFL Concusion representation

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